                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )    No. CR20-4048-KEM-LTS
                          Plaintiff,          )
                                              )
              vs.                             )    UNITED STATES’
                                              )    SENTENCING
DARRELL SOREY,                                )    MEMORANDUM
                                              )
                          Defendant.          )



                                INTRODUCTION

      Defendant, Darrell Sorey, comes on for sentencing on January 19, 2022 at

1:00 p.m. There are three guideline issues in dispute: (1) the base offense level

pursuant to USSG §2K2.1(a)(4)(B); (2) the four-level enhancement for the

possession of between 8 and 24 firearms pursuant to USSG §2K2.1(b)(1)(B): and (3)

the assessment of criminal history points, pursuant to USSG §4A1.1(c), for

paragraphs 37 and 38.

                                   WITNESSES

      The government intends to call Special Agents Robert Carlson and Micah

Van Otterloo, ATF.

                                       EXHIBITS

      The government intends to present Government’s Sentencing Exhibit 1

(transcript of Sorey’s interview); Government’s Sentencing Exhibit 2 (recording of

Sorey’s interview); Government’s Sentencing Exhibit 3, 4A and 4B (pipe bomb as
recovered and as examined); Government’s Sentencing Exhibit 5 (report and

pictures of discovery of firearms at Sorey’s home).

                                   ARGUMENT

I.    USSG §2K2.1(a)(4)(B) Provides the Correct Offense Level, 20, Because
      the Offense Involved a Semiautomatic Firearm that is Capable of
      Accepting a Large Capacity Magazine and/or a Firearm as Described
      in 26 U.S.C. §5845(a) and Defendant was
      a Prohibited Person – a Drug User – at the Time Defendant
      Committed the Instant Offense

       Defendant does not dispute he possessed some qualifying firearms.

Instead, he asserts he was not a prohibited person, because he was not an unlawful

user of a controlled substance.

       Title 18 U.S.C. § 922(g)(3) criminalizes the possession of firearms by any

person “who is an unlawful user of . . . any controlled substance (as defined in

section 102 of the Controlled Substances Act (21 U.S.C. § 802)).” Both marijuana

and methamphetamine are within the definition. 21 U.S.C. § 802(6) and 21 U.S.C.

§ 802 Schedules I (c)(10) (marijuana) and II (methamphetamine).

       The term “unlawful user of a controlled substance” means:

              [A] person who uses a controlled substance in a manner other
      than as prescribed by a licensed physician. The defendant must have
      been actively engaged in use of [a] controlled substance[s] during the
      time [he][she] possessed the [firearm][ammunition], but the law does
      not require that [he][she] used the controlled substance[s] at the
      precise time [he][she] possessed the [firearm][ammunition]. Such use
      is not limited to the use of drugs on a particular day, or within a
      matter of days or weeks before, but rather that the unlawful use has
      occurred recently enough to indicate that the individual is actively
      engaged in such conduct. An inference that a person [was][is] a user
      of a controlled substance may be drawn from evidence of a pattern of

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      use or possession of a controlled substance that reasonably covers the
      time the [firearm][ammunition] was possessed.]

       Model Crim. Jury Instr. 8th Cir. 6.18.922B.

       In this case, on January 15, 2020, defendant admitted to being an unlawful

user of a marijuana, having last used marijuana about two weeks before the time

of the interview, and having his own “bat” or “one-hitter,” with which to use

marijuana, and leaving it with his dad. (Government’s Sentencing Exhibit 1

(transcript) pg. 85-90, Government Sentencing Exhibit 2 (recording of interview)

starting at about 1:08 and anticipated testimony of Robert Carlson, ATF). This

time frame of two weeks would have been within the time he possessed the

firearms in this case.

       Additionally, during the execution of a search warrant at Michele Zeisler’s

home, law enforcement found defendant’s personal belongings (including his open

and operating phone), a methamphetamine pipe, and a baggie of

methamphetamine in the southwest bedroom of the house while the second

bedroom did not appear to be associated with defendant. (Anticipated testimony

of Special Agent Micah Van Otterloo, ATF). Elsewhere in the house additional

items associated with methamphetamine use were found. (Anticipated testimony

of Special Agent Micah Van Otterloo, ATF). At this time, Ms. Zeisler was out of

the state. (Anticipated testimony of Special Agent Micah Van Otterloo, ATF).




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       Additionally, defendant possessed marijuana in 2002, 2003, and 2014 (PSR

¶¶26, 28, and 37). Thus, the facts in the case establish defendant was an unlawful

user of controlled substances.

II.   USSG §2K2.1(b)(1)(B) is Applicable Because the Offense Involved
      Between 8 and 24 Firearms

      In his plea agreement defendant stipulated that from on or about January 1,

2018 until on or about January 15, 2020, in the Northern District of Iowa, he

knowingly received and possessed destructive devices, as that term is defined in

Title 26, United States Code, Section 5845(f) namely: two CO2 Cartridge bombs,

and a CO2 Cartridge bomb attached to an arrow, each of which was a destructive

device. (Doc. No. 99 (Plea agreement)). Additionally, defendant possessed

another destructive device (i.e., a pipe bomb). He admitted to building the pipe

bomb but essentially denied sealing the second end. (Government’s Sentencing

Exhibit 1 pp 56-65, 72-77, and 115-125 and Government Sentencing Exhibit 2

46:24 to 51:52, 58 to 1:03, and 1:38:00 to 1:51:50. Nonetheless, the weapon had a

sealed cap. (Government’s Sentencing Exhibit 3, 4A and 4B (pipe bomb as

recovered and as examined)).

      Additionally, five traditional firearms were discovered in the home

defendant admitted he kept his stuff in (Government’s Sentencing Exhibit 1

(transcript) pg. 103-05, Government Sentencing Exhibit 2 (recording) at 1:23:04,

and Government’s Exhibit 5 (report and pictures of discovery of firearms in Sorey’s

home). All together this demonstrates defendant’s possession of nine firearms.

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 III.      Defendant’s Objection to Assessment of Criminal History Points,
           Pursuant to USSG §4A1.1(c), for Paragraphs 37 and 38 is Baseless

           The United States adopts Probation’s rationale and reasoning.

                                                CONCLUSION

           The United States respectfully recommends that this Court impose a

 guideline sentence in this case.


                                                   SEAN R. BERRY
                                                   United States Attorney
        CERTIFICATE OF SERVICE

I certify that I electronically served a copy      By: /s/ Forde Fairchild
of the foregoing document to which this
certificate is attached to the parties or
attorneys of record, shown below, on
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